                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                      *           CIVIL ACTION NO.:
                                                       *           2:22-04054
 VERSUS                                                *
                                                       *
                                                       *           CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                           *           NANNETTE JOLIVETTE
                                                       *           BROWN
                                                       *
                                                       *           MAGISTRATE JUDGE
                                                                   DONNA PHILLIPS
                                                                   CURRAULT
 ***************************                           *

                MOTION TO COMPEL AND MOTION FOR SANCTIONS

        NOW INTO COURT, through undersigned counsel, comes Defendant, Safepoint

Insurance Company (“Safepoint”), who respectfully requests an Order from this Honorable Court

compelling Plaintiff to make the property reasonably available for inspection, pursuant to the terms

of the Safepoint policy and Fed. R. Civ. P. 37(a)(3)(B). Safepoint further requests an Order from

this Court imposing Sanctions pursuant to Fed. R. Civ. P. 37(b)(2)(A) and this Court’s previous

Order (R. Doc. 20) for Plaintiff’s failure to comply with this Court’s Order. The reasons in support

of this Motion are more fully described in the Memorandum in Support filed herewith.

        WHEREFORE, Defendant, Safepoint Insurance Company (“Safepoint”), prays this Court

grant its Motion to Compel and Motion for Sanctions and issue an Order granting the relief

requested.



                             [Signature block on the following page.]




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                                               Respectfully submitted,

                                               BLUE WILLIAMS, L.L.C.

                                               /s/ John A. Doran
                                               ____________________________________
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                                               Attorneys for Defendant,
                                               Safepoint Insurance Company


                                       CERTIFICATE

        I HEREBY CERTIFY that the above and foregoing was electronically filed with the

Clerk of Court of the Eastern District of Louisiana by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record, on this 19th day of January, 2024.




                                                     /s/ John A. Doran
                                                    NICHOLAS P. ARNOLD
                                                    JOHN A. DORAN




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